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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

          V.                                           CRIMINAL NO. 21-CR-376 (RDM)

RYAN SETH SULESKI,

                         Defendant.

                                  STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Ryan Suleski, with the

concurrence of his attorney, agree and stipulate to the below factual basis for the defendant's guilty

plea—that is, if this case were to proceed to trial, the parties stipulate that the United States could

prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

          1.     The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.     On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.     On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020



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Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session

began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        4.     As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.     At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.     At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.




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       7.      Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


               Ryan Suleski's Participation in the January 6, 2021, Capitol Riot

       8.      The defendant lives in the area of Norfolk, Virginia. On the morning of January 6,

2021, the defendant traveled from the area of Norfolk to Washington, D.C., via automobile. The

purpose of the defendant's trip to Washington, D.C., was to attend President Trump's rally at the

Ellipse. Approximately halfway through the rally, the defendant recalled that January 6th was the

date Congress certified the election results and he decided to go to the Capitol.

       9.      Upon arriving at the Capitol building, the defendant climbed the outside steps on

the west side of the building and observed confrontations between the police and rioters. He

witnessed the police utilizing chemical agents to keep the rioters at bay, and, according to a

statement he provided to FBI agents later, he was shot with a rubber bullet by police during their

attempts to prevent the rioters from entering the Capitol.




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       10.     The defendant entered the Capitol building through the Upper West Terrace door

at 2:35 p.m. The defendant then walked throughout the building, and attempted to open locked

doors and peered into drawers and cabinets. When he arrived at the third-floor gallery near the

House Appropriations Committee's Republican minority office, the defendant observed papers

lying on the ground outside of a closed door. The defendant picked up those papers, looked

through them, placed them into his backpack, and continued to walk through the Capitol. During

his time inside the Capitol building, the defendant observed fighting between officers and rioters

at the Columbus Doors, where he paused to document some of fighting with his phone. The

defendant was inside the building for about 15 minutes before leaving through Statuary Hall,

taking the papers in his backpack with him.

       11.     After the defendant left the building, he was interviewed by the BBC on the Capitol

grounds, during which the reporter stated, "That is just not how things are done in this country."

The defendant responded, "Right." The reporter went on to say, "Lawlessness, storming buildings,

even, and that is what happened today." The defendant countered, "This nation wasn't founded

on civility. This nation was founded on revolutionary activity. We became civil after the

government realized that they got overwhelmed." The reporter asked the defendant, "So, what

happens now?" The defendant answered, "I guess now we wait and see if they take us seriously

because they saw how easily we were able to breach their defense."

       12.     On his drive home, the defendant recorded a TikTok video in which he talked about

how he "got a CS gas canister dropped on" him. The defendant also stated, "today was fucking

nuts. But we got our point across. We showed how weak their defense was. And we showed

Congress that America is tired of being fucking quiet and that we're about that life.".




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                                     Elements of the Offense

       13.     Ryan Suleski knowingly and voluntarily admits to all the elements of 18 U.S.C. §

1752(a)(1). Specifically, the defendant admits that he willfully and knowingly entered the U.S.

Capitol Building knowing that that he did not have permission to do so.

       14.     Ryan Suleski knowingly and voluntarily admits to all the elements of 18 U.S.C. §

641. Specifically, the defendant admits that the papers were the property of the United States

government, that is, congress, and at the time he knowingly stole the papers, he intended to deprive

the owner of its use and benefit.


                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                              By:     /7 Kiev       ley C. Niel e v '
                                                     Assistant United States Attorney
                                                     N.Y. Bar No. 4034138




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                           DEFENDANT'S ACKNOWLEDGMENT


        I, Ryan Suleski, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.


Date:
                                       yan Suleski
                                      Defendant


                           ATTORNEY'S ACKNOWLEDGMENT


       I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.



Date:    C             a
                                      Maria Jacob
                                      Attorney for Defendant




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